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                            IN RE: DEEPWATER HORIZON LITIGATION
                                          MDL NO. 2179


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                                                October 18, 2013

                                             IN CAMERA SUBMISSION

The Honorable Carl J. Barbier
United States District Court
500 Poydras Street, Room C-268
New Orleans, Louisiana 70130
E-Mail: Ben_Allums@laed.uscourts.gov

            Re: Scheduling Order: BEL Remand

Dear Judge Barbier:
       The Fifth Circuit remanded this matter with respect to a very limited and narrow issue,
namely: Whether it was discussed, prior to the time the agreement was signed, that the expenses
in Cash-basis Claims would be “matched” under Exhibit 4C, (similar to the way in which
expenses are generally matched in Accrual-based Claims).
        While Class Counsel have endeavored to attempt to reach a potential compromise with
BP for the “matching” of expenses in Cash-basis Claims to allow the Settlement Program to
move forward in light of the Fifth Circuit’s suggestion that expenses should likely be matched in
some way,1 as a factual matter, we do not believe or recall that such discussions ever took place,
or that such matching of expenses in Cash-basis Claims was ever contemplated. Rather, it is
apparently BP’s position that the parties discussed (and, BP would presumably argue, agreed
that) Cash-basis Claims, (like Accrual-basis Claims), should have expenses matched in some
way under Exhibit 4C. Therefore, BP, we believe, should be compelled to come forward with
any evidence that BP contends establishes that such matching of expenses was discussed prior to
the time the agreement was signed. And, to the extent that no such evidence exists, BP should be
compelled to admit it.

        1
            BP has refused to engage in such discussions, absent capitulation from the Class regarding the
“smoothing” of revenue (to which BP Counsel now apparently refer as “revenue recognition”), which the BEL Panel
clearly rejected, (see SLIP OPINION, pp.24-25), as well as departing from the objective Exhibit 4B Causation
Framework (loosely referred to previously as “alternative causation”) (to which BP Counsel now apparently refer as
“actual injury”), which has been formally conceded by BP on numerous occasions and was not before the Fifth
Circuit on the BEL Appeal, (see SLIP OPINION, pp.37-40 (Southwick, concurring)).
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       BP, based on our discussions and exchange of drafts regarding the Scheduling Order,
appears to agree with the notion that both Parties, by a date certain, should be compelled to come
forward with any additional evidence supporting their own respective interpretations. BP,
however, does not seem willing to expressly or effectively admit that it has no evidence in
support of BP’s own position, if indeed that is the case.2

        The other main point of disagreement is that Class Counsel believe that the evidence on
remand should be limited to a factual inquiry regarding what was discussed and/or agreed to
prior to the time that the Settlement Agreement was executed; BP, on the other hand, apparently
wants to introduce new additional opinion testimony from experts, relating in particular to the
issue of causation.

       For the reasons further outlined below, Class Counsel respectfully suggest that the Class’
enclosed Proposed Scheduling Order be adopted by the Court.


Scope of Remand: Accrual-Basis Claims

       The Fifth Circuit directed that the Court confirm with the Claims Administrator that the
Settlement Program “is not applying cash-in, cash-out interpretation to claims that are presented
with matched revenues and expenses.” OPINION, p.16.

        While we understand the Court’s obligation to ensure that Accrual-based Claims are
sufficiently matched in this respect, the Fifth Circuit seems to suggest that, in most cases, the
expenses presented in Accrual-based Claims will generally be sufficiently matched already.3




        2
          Presumably, Class Counsel could accomplish the same thing by serving formal Requests for
Admissions and associated Requests for Production of Documents, but were trying to focus and
streamline the process within the Scheduling Order itself.
        3
          See, e.g., OPINION, p.16 fn.5 (“As to accrual-based claimants, matching is ‘required’ in the
sense that claimants are not permitted to present statements which contain inconsistent methodologies”);
OPINION, p.18 (“The fact that Exhibit 4C requires processing of claims supported by sufficiently-
matched, accrual-based accounting should inform but does not control how cash-basis claims are to be
analyzed”); OPINION, p.19 (BP argues that “Exhibit 4C represents an agreement on a specific accounting
methodology, based loosely on accrual accounting revenue and expense recognition principles”);
OPINION, pp.19-20 (“Because cash accounting does not inherently recognize relationships between cash
flows and their underlying transactions, the term ‘corresponding variable expenses’ reasonably could
imply an accrual-style framework inherent in Exhibit 4C”); OPINION, p.20 (“At least as to claims
presented on an accrual basis, not only did BP not assent to ignoring the need for matching revenues with
expenses, it clearly insisted on it”); OPINION, p.24 (“We remand because the district court did not …
explain why it was interpreting the same Exhibit 4C language that leads to matching for accrual-based
claims as not requiring the matching of cash-basis claims”).
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Scope of Remand: Cash-Basis Claims

       As noted, the precise issue to be addressed by the Court on remand is whether it was
discussed, prior to the time the agreement was signed, that the expenses in Cash-basis Claims
would be “matched” under Exhibit 4C, (similar to the way in which expenses are generally
matched in Accrual-based Claims).

       Judge Clement, specifically, finds that:
                 … we hold that Exhibit 4C is ambiguous as to whether claims that
                 are not based on matched revenues and expenditures are to be
                 matched for Exhibit 4C purposes. We have not discovered
                 whether, before the agreement was signed, the parties
                 discussed the divergent effects of cash- and accrual-basis
                 accounting records on the Exhibit 4C formula.4

       This is consistent with Judge Clement’s previous comments that:
                 We suggest a more consistent interpretation of Exhibit 4C, one that
                 fits both accrual- and cash-basis claims, is as follows. Such parol
                 evidence as would assist the district court in deciding if this is
                 correct can be presented on remand.5

       And:
                 … Exhibit 4C cannot be interpreted so that it always means cash
                 received and cash disbursed. We leave open for remand whether it
                 ever has that meaning.6

       Therefore, in conclusion, Judge Clement directs as follows:
                 We remand because the district court did not acknowledge the
                 requirement of matching that is foundational for accrual-basis
                 claims and it did not then explain why it was interpreting the
                 same Exhibit 4C language that leads to matching for accrual-
                 based claims as not requiring the matching of cash-basis
                 claims.7




       4
           OPINION, p.23.
       5
           OPINION, p.18.
       6
           OPINION, p.10.
       7
           OPINION, p.24.
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       Judge Southwick, likewise, identifies the central issue on remand as follows:
                 Part I of the panel opinion identifies the crucial question for
                 remand: should matching be required for all claims when it is
                 clearly required for many? I agree to remand with instructions to
                 reconsider the interpretation of Exhibit 4C for unmatched claims in
                 light of the necessity of revenue and expense matching….8


Both Parties Should Be Required to Produce Evidence – or Admit that None Exists –
Relating to the Questions Presented on Remand

       BP, in its original proposal of October 9th, sought to place the burden on Class Counsel
to submit a brief and all additional evidence on which Class Counsel rely to support the
contention that the parties agreed that matching principles do not apply to all claims.9

       Judge Clement, joined by Judge Southwick, however, posed a different question – i.e.,
“whether, before the agreement was signed, the parties discussed the divergent effects of cash-
and accrual-basis accounting records on the Exhibit 4C formula.”10

       Class Counsel do not recall or believe that any such discussions took place.

       Therefore, BP’s proposal would effectively ask the Class to prove a negative.

       Class Counsel, accordingly, proposed a Scheduling Order essentially the same as the
Proposed Order that is enclosed herewith, which would require each party to: (i) submit any
evidence regarding such discussions (if any); (ii) submit any additional evidence that was not
shared with the other party during negotiations but which supports the party’s interpretation;
and/or (iii) expressly (or at least effectively) admit that the party has no additional evidence on
the subject, if indeed that is the case.

        After conferring with BP, it appears that BP has generally embraced the Class’ proposal,
in part, but seems reluctant to potentially establish that no further evidence responsive to the
Court’s inquiry exists.

        While the Class could presumably accomplish the same thing by serving formal Requests
for Admissions and associated Requests for Production of Documents, Class Counsel were
trying to focus and streamline the process within the Scheduling Order itself.

       In any event, we respectfully suggest that the Court should be provided with a full
evidentiary picture of the precise issues for which the case was remanded.


       8
           OPINION, p.38, (Southwick, concurring).
       9
           See LETTER FROM R. GODFREY TO J. BARBIER (Oct. 9, 2013), at p.5.
       10
            OPINION, p.23.
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The Scope of the Court’s Inquiry Should be Appropriately Limited

        As the Court would seem to be concerned on remand with additional factual evidence
bearing on the issue of what the parties discussed or agreed to before the agreement was signed,
the additional post hoc opinions of hired experts regarding what they believe to be a proper
interpretation of the Settlement Agreement would not seem relevant to the Court’s
consideration.11


                                              Conclusion

        For the above and foregoing reasons, Class Counsel respectfully request that the Court
enter the Proposed Scheduling Order submitted herewith.



                                                                Respectfully submitted,
                                                                JAMES PARKERSON ROY
                                                                STEPHEN J. HERMAN
                                                                Co-Lead Class Counsel



Enclosures
cc: Hon. Sally Shushan
    Patrick A. Juneau, Claims Administrator
    Special Master Louis J. Freeh
    Kevin Downey, Esq.
    James Neath, Esq.
    Mark Holstein, Esq.
    Richard Godfrey, Esq.
    Joseph F. Rice, Esq.
    Calvin C. Fayard, Jr., Esq.
    Robert T. Cunningham, Esq.




        11
           While the notes, examples, analyses, or other materials prepared by experts or consultants
during the negotiation process may be relevant, they would be relevant to the factual inquiry of what was
discussed or agreed to at the time. Of course, this type of (and other) post-agreement parol evidence
stemming from the Program’s implementation of the Settlement Agreement is already in the record, and
was already before the Court of Appeals.
